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United States District Court
Southern District of Georgia

Coalition for Good Governance and

Donna Curling, Case No. 5:23-mc-00001
Plaintiff
Coffee County Board of Elections Appearing on behalf of
and Registration, Coalition for Good Governance
Defendant (Plaintiff/Detendend
ORDER OF ADMISSION

It appearing to the Court that the requirements stated in LR 83.4 for admission
pro hac vice have been satisfied, Petitioner’s request to appear pro hac vice in
the United States District Court for the Southern District of Georgia in the

subject case is GRANTED.
This day of ,
UNITED STATES DISTRICT/MAGISTRATE JUDGE
ek RK
NAME OF PETITIONER: jean eats
Business Address: chien Davis PES
Firm/Business Name
400 Interstate N. Pkwy, SE, Suite 860
Street Address
Atlanta GA 30326
Street Address (con’t) City State Zip

Mailing Address (if other than street address)

Address Line 2 City State Zip
(404) 869-7600 382515
Telephone Number (w/ area code) Georgia Bar Number

Email Address: cichter@ichterdavis.com

